                      Case 3:13-mj-71218-JCS                  Document 6          Filed 10/09/13         Page 1 of 1
AO 94 (Rev. 01/09) Commitment to Another District



                                    UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Northern District of California

                United States of America                            )
                           v.                                       )
                                                                    )       Case No.    3:13-MJ-71218 MAG
                                                                    )
··--·· --· · -.. __ R()_s_~William        L\.\'otllllt____          )          Charging District's
                          Defendant                                 )          Case No. 13-MAG-2328

                                            COMMITMENT TO ANOTHER DISTRICT

         The defendant has been ordered to appear in the                    Southern     District of              New York
The defendant may need an interpreter for this language:           _1'~on~~-~-


         The defendant:        X will retain an attorney.
                               0 is requesting court-appointed counsel.

         The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the
United States attorney and the clerk of court for that district of the defendant's arrival so that further proceedings may
be promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the cha ging district.



Date:           02_!9, 2j)13


                                                                        _Joseph C. Spero, l]nited ~t_a~e_s_MI!gistrate)udge_
                                                                                         Printed name and title

                           FILED
                           OCT X 9 20\3
                          RICHARD W. WIEKINO
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